                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                               SOUTHERN DIVISION

 LAURA YARNELL, Trustee under               )
 the Trust of S. Cameron Yarnell for        )      CASE NO. 1:09-CV-49
 the children of S. Cameron Yarnell,        )
                                            )      Judges Edgar and Carter
 v.                                         )
                                            )
 TRANSAMERICA LIFE INSURANCE                )
 COMPANY, et al.                            )


           MOTION OF TRANSAMERICA LIFE INSURANCE COMPANY
                   TO DISMISS THE NEGLIGENCE CLAIM
              IN PLAINTIFF’S SECOND AMENDED COMPLAINT

        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant

 Transamerica Life Insurance Company (“Transamerica”) moves to dismiss the negligence

 claim against it contained in Plaintiff’s Second Amended Complaint. In support of this

 Motion, Transamerica would show the Court:

        Transamerica owed no common law duties to Mrs. Yarnell. Further, Plaintiff has not

 pled and cannot plead sufficient facts to show that Defendant SunTrust Securities, Inc.

 (“SunTrust”) acted within the scope of any actual or apparent authority as Transamerica’s

 agent regarding notice that insurance policy premiums were due. Thus, as a matter of law,

 Transamerica cannot be held liable for SunTrust’s allegedly negligent acts.

        Transamerica further relies on the arguments contained in, and incorporates by

 reference, its Motion to Dismiss the Negligence Claim in Plaintiff’s Amended Complaint and

 supporting Brief (Doc. Nos. 23, 24) and its Reply to Plaintiff’s Response to Transamerica’s

 Motion to Dismiss the Negligence Claim in Plaintiff’s Amended Complaint (Doc. No. 38).




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        WHEREFORE, Defendant Transamerica Life Insurance Company respectfully moves

 the Court for an Order dismissing with prejudice the negligence claim against Transamerica

 in Plaintiff’s Second Amended Complaint for failure to state a claim upon which relief can

 be granted.

                                           Respectfully submitted,

                                           CHAMBLISS, BAHNER & STOPHEL, P.C.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of October, 2009, the foregoing MOTION was
 filed electronically. Notice of this filing will be sent by operation of the Court's electronic
 filing system to all parties indicated on the electronic filing receipt. All other parties will be
 served by regular U.S. Mail. Parties may access this filing through the Court's electronic
 filing system.

                                               s/ D. Aaron Love
                                              D. Aaron Love




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